Case 3:20-cv-06754-WHA   Document 829-14   Filed 06/29/23   Page 1 of 6




                Exhibit 12
6/29/23, 1:53 AM   Case 3:20-cv-06754-WHA Sonos
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                                                               Beam and Sub prices 06/29/23         Page 2 of 6
                                                                                   by $50 - The Verge



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    SONOS / TECH

    Sonos quietly raises Beam and Sub prices by $50 / After a wave of
    price hikes in 2021, Sonos is raising the cost of its mid-level soundbar
    (now $499), subwoofer ($799), and a few accessories.

    By Chris Welch, a reviewer specializing in personal audio and home theater. Since 2011, he has
    published nearly 6,000 articles, from breaking news and reviews to useful how-tos.
    Feb 21, 2023, 3:10 PM PST
      7 Comments / 7 New




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    Photo by Chris Welch / The Verge



    As it nears the launch of two new smart speakers, Sonos appears to be taking
    another look at pricing across the company’s product portfolio — and raising them
    in some cases. The second-generation Beam, which was $449 just a week ago, is now
    shown as $499 on Sonos’ website and retailers, including Best Buy.

    The already-pricey Sub has also been bumped by $50 and now costs $799. Ouch.
    The Wayback Machine shows that it was still listed at $749 from Sonos as recently
    as February 15th.

    Sonos increased the prices of numerous products back in 2021, citing supply chain
    issues and consumer demand as factors behind the decision. At that time, the
    company said it is “always assessing market dynamics including demand, supply
    chain, component costs, and the competitive landscape” when reviewing pricing.


                                              AD




    Apparently, it has now seen fit to make more adjustments. Sonos confirmed these
    changes to The Verge, and select accessories are also impacted — but much less
    significantly. A couple of items have actually gone down (by a whole 99 cents). Here’s
    the full rundown:


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6/29/23, 1:53 AM   Case 3:20-cv-06754-WHA Sonos
                                            Document
                                                quietly raises829-14      Filed
                                                               Beam and Sub prices 06/29/23         Page 4 of 6
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     Sonos February 2023 price changes
                             Device                                    New price              Previous price

                         Beam (Gen 2)                                     $499                     $449

                          Sub (Gen 3)                                     $799                     $749

                        Sonos One shelf                                  $59.99                   $59.00

                       Pair of One Stands                                $249.99                  $249.00

                       Short Power Cord                                   $19.99                   $19.00

                       Replacement Cord                                  $25.00                   $24.99

                        Long Power Cord                                  $29.00                   $29.99

                      Move Charging Base                                 $79.00                   $79.99

                      10 Pk Banana Plugs                                 $69.00                   $49.00

                     5 Pk Optical Adapters                               $69.00                   $49.00



     You might want to look elsewhere for your banana plugs.




    The Beam (read our review) has typically been one of the better values in Sonos’
    home theater lineup: it produces room-filling audio and does a decent job at
    virtualizing Dolby Atmos surround sound in small to medium-size rooms. But these
    price increases start to chip away at that value proposition: the company’s mid-level
    soundbar is now $100 more expensive than the first-gen Beam’s starting price.

    Thanks for the tip, Steven!


                                                            7 COMMENTS (7 NEW)




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6/29/23, 1:53 AM   Case 3:20-cv-06754-WHA Sonos
                                            Document
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6/29/23, 1:53 AM   Case 3:20-cv-06754-WHA Sonos
                                            Document
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